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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION
                                 www.flsb.uscourts.gov

In re:                                                      Case No.: 21-16133-LMI

OCEANROAD GLOBAL SERVICES LIMITED,                          Chapter 15
HOLDWAVE TRADING LIMITED,

      Debtors in a Foreign Proceeding.                      (Jointly Administered)
_________________________________/

      EIGHTH NOTICE OF EXAMINATION PURSUANT TO FEDERAL RULE
    OF BANKRUPTCY PROCEDURE 2004 AND EIGHTH NOTICE OF SUBPOENA
                          DOCUMENTS ONLY

         Nicholas Wood, Colin Diss, and Michael Leeds, the joint liquidators (“Foreign

Representatives”), by the undersigned attorney, request that Societe Generale, New York

Branch, on Thursday, June 18, 2023 no later than 5:00 p.m. at Sequor Law, attn.: Nyana Abreu

Miller, 1111 Brickell Avenue, Suite 1250, Miami, FL 33131, nmiller@sequorlaw.com;

ttimothy@sequorlaw.com; mcohen@sequorlaw.com (if produced by mail or electronically or by

hand delivery), produce all of the documents as detailed in the Subpoena to Produce Documents,

Information, or Objects or to Permit Inspection of Premises in a Bankruptcy Case Examination

included with this Notice, attached hereto and incorporated herein.

         This request for production of documents is pursuant to Rule 2004, Federal Rules of

Bankruptcy Procedure, and Local Rule 2004-1, Bankruptcy Rules for the United States

Bankruptcy Court for the Southern District of Florida. The scope of the request is as described in

Bankruptcy Rule 2004. Pursuant to Local Rule 2004-1 no order shall be necessary.

         Dated: May 23, 2023




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                                                       Respectfully submitted,

                                                       SEQUOR LAW, P.A.
                                                       1111 Brickell Avenue, Suite 1250
                                                       Miami, Florida 33131
                                                       nmiller@sequorlaw.com
                                                       ttimothy@sequorlaw.com
                                                       Telephone: (305) 372-8282
                                                       Facsimile: (305) 372-8202

                                               By:     /s/ Nyana Abreu Miller
                                                       Nyana Abreu Miller, Esq.
                                                       Fla. Bar No.: 92903
                                                       Templeton N. Timothy
                                                       Fla. Bar No.: 1025172


                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was filed via electronic

filing using the CM/ECF system with the Clerk of the Court which sent e-mail notification of such

filing to all CM/ECF participants in this case and via regular US mail to all participants who are

not on the list to receive e-mail notice/service for this case as indicated on the service list on May

23, 2023.

                                               By:     /s/ Nyana Abreu Miller
                                                       Nyana Abreu Miller, Esq.

                                         SERVICE LIST

Electronic Mail Notice List

The following is the list of parties who are currently on the list to receive email notice/service
for this case.

   •   Nyana Abreu Miller, Esq. nmiller@sequorlaw.com; ttimothy@sequorlaw.com;
       mcohen@sequorlaw.com
   •   Office of the US Trustee USTPRegion21.MM.ECF@usdoj.gov

Manual Notice List

   •    (No manual recipients)
                                                  2
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                                  UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                           MIAMI DIVISION
                                          www.flsb.uscourts.gov
   In re:                                                       Case No.: 21-16133-LMI

   OCEANROAD GLOBAL SERVICES LIMITED,                                         Chapter 15
   HOLDWAVE TRADING LIMITED,

         Debtors in a Foreign Proceeding.                                     (Jointly Administered)
   _________________________________/

                          EIGHTH SUBPOENA FOR RULE 2004 EXAMINATION
                                       (Documents Only)
   To:                  Societe Generale, New York Branch
   By Serving:          245 Park Avenue, 11th FL
                        New York, NY 10167

   Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at an
examination under Rule 2004, Federal Rules of Bankruptcy Procedure and Local Rule 2004-1.

 PLACE: (If not produced electronically)                   DATE AND TIME
   Veritext Legal Solutions
   1250 Broadway, Suite 2400                               June 18, 2023, no later than 5:00 p.m.
   New York City, NY 10001
The examination will be recorded by this method: Documents only, no testimony will be taken at this time.
X Production: YOU ARE COMMANDED to produce the following documents, electronically stored
information, or objects, and must permit inspection, copying, testing, or sampling of the material at the time, date,
and place set forth below (if different from that of the examination): See Schedule I attached hereto.


        The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P.
9016, are attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a
person subject to a subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the
potential consequences of not doing so.

Date: May 23, 2023
                       CLERK OF COURT
                     ___________________________           OR           /s/ Nyana A. Miller_
                    Signature of Clerk or Deputy Clerk                 Attorney’s signature
The name, address, email address, and telephone number of the attorneys representing Nicholas Wood, Colin
Diss, and Michael Leeds (“Foreign Representatives”), who issue or request this subpoena, are: Nyana Abreu Miller
(nmiller@sequorlaw.com; mcohen@sequorlaw.com); Templeton N. Timothy (ttimothy@sequorlaw.com); 1111
Brickell Avenue, Suite 1250, Miami, FL 33131; Tel. (305) 372-8282.
                             Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things, or
the inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it
is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).


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                                          PROOF OF SERVICE
         (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

    I received this subpoena for (name of individual and title, if any):                            on (date)

    I served the subpoena by delivering a copy to the named person as follows: _________________

                                                     on (date)                             ; or

    I returned the subpoena unexecuted because: _________________________________________


    Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I
    have also tendered to the witness the fees for one day’s attendance, and the mileage
    allowed by law, in the amount of
    $                               .
    My fees are $                 for travel and $                 for services, for a total of $           .

    I declare under penalty of perjury that this information is true and correct.

    Date:


                                                                                  Server’s signature



                                                                                  Printed name and title




                                                                                  Server’s address


         Additional information concerning attempted service, etc.:




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                        Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
               (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)
(c) Place of compliance.                                                                   (ii) disclosing an unretained expert's opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert's
   (1) For a Trial, Hearing, or Deposition. A subpoena may command a               study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                       (C) Specifying Conditions as an Alternative. In the circumstances
      (A) within 100 miles of where the person resides, is employed, or            described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
      (B) within the state where the person resides, is employed, or regularly     conditions if the serving party:
transacts business in person, if the person                                                (i) shows a substantial need for the testimony or material that cannot
        (i) is a party or a party’s officer; or                                    be otherwise met without undue hardship; and
        (ii) is commanded to attend a trial and would not incur substantial                (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                           compensated.
   (2) For Other Discovery. A subpoena may command:
      (A) production of documents, or electronically stored information, or        (e) Duties in Responding to a Subpoena.
things at a place within 100 miles of where the person resides, is employed,
or regularly transacts business in person; and                                        (1) Producing Documents or Electronically Stored Information. These
      (B) inspection of premises, at the premises to be inspected.                 procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                              (A) Documents. A person responding to a subpoena to produce
                                                                                   documents must produce them as they are kept in the ordinary course of
   (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney            business or must organize and label them to correspond to the categories in
responsible for issuing and serving a subpoena must take reasonable steps to       the demand.
avoid imposing undue burden or expense on a person subject to the subpoena.              (B) Form for Producing Electronically Stored Information Not
The court for the district where compliance is required must enforce this duty     Specified. If a subpoena does not specify a form for producing electronically
and impose an appropriate sanction — which may include lost earnings and           stored information, the person responding must produce it in a form or forms in
reasonable attorney's fees — on a party or attorney who fails to comply.           which it is ordinarily maintained or in a reasonably usable form or forms.
   (2) Command to Produce Materials or Permit Inspection.                                (C) Electronically Stored Information Produced in Only One Form. The
      (A) Appearance Not Required. A person commanded to produce                   person responding need not produce the same electronically stored
documents, electronically stored information, or tangible things, or to permit     information in more than one form.
the inspection of premises, need not appear in person at the place of                    (D) Inaccessible Electronically Stored Information. The person
production or inspection unless also commanded to appear for a deposition,         responding need not provide discovery of electronically stored information
hearing, or trial.                                                                 from sources that the person identifies as not reasonably accessible because of
      (B) Objections. A person commanded to produce documents or tangible          undue burden or cost. On motion to compel discovery or for a protective
things or to permit inspection may serve on the party or attorney designated       order, the person responding must show that the information is not reasonably
in the subpoena a written objection to inspecting, copying, testing or             accessible because of undue burden or cost. If that showing is made, the court
sampling any or all of the materials or to inspecting the premises — or to         may nonetheless order discovery from such sources if the requesting party
producing electronically stored information in the form or forms requested.        shows good cause, considering the limitations of Rule 26(b)(2)(C). The court
The objection must be served before the earlier of the time specified for          may specify conditions for the discovery.
compliance or 14 days after the subpoena is served. If an objection is made,          (2) Claiming Privilege or Protection.
the following rules apply:                                                               (A) Information Withheld. A person withholding subpoenaed
         (i) At any time, on notice to the commanded person, the serving party     information under a claim that it is privileged or subject to protection as trial-
may move the court for the district where compliance is required for an order      preparation material must:
compelling production or inspection.                                                        (i) expressly make the claim; and
         (ii) These acts may be required only as directed in the order, and the             (ii) describe the nature of the withheld documents, communications,
order must protect a person who is neither a party nor a party's officer from      or tangible things in a manner that, without revealing information itself
significant expense resulting from compliance.                                     privileged or protected, will enable the parties to assess the claim.
  (3) Quashing or Modifying a Subpoena.                                                  (B) Information Produced. If information produced in response to a
     (A) When Required. On timely motion, the court for the district where         subpoena is subject to a claim of privilege or of protection as trial-preparation
compliance is required must quash or modify a subpoena that:                       material, the person making the claim may notify any party that received the
        (i) fails to allow a reasonable time to comply;                            information of the claim and the basis for it. After being notified, a party must
        (ii) requires a person to comply beyond the geographical limits            promptly return, sequester, or destroy the specified information and any copies
specified in Rule 45(c);                                                           it has; must not use or disclose the information until the claim is resolved;
        (iii) requires disclosure of privileged or other protected matter, if no   must take reasonable steps to retrieve the information if the party disclosed it
exception or waiver applies; or                                                    before being notified; and may promptly present the information under seal to
        (iv) subjects a person to undue burden.                                    the court for the district where compliance is required for a determination of
     (B) When Permitted. To protect a person subject to or affected by a           the claim. The person who produced the information must preserve the
subpoena, the court for the district where compliance is required may, on          information until the claim is resolved.
motion, quash or modify the subpoena if it requires:                               ...
        (i) disclosing a trade secret or other confidential research,              (g) Contempt. The court for the district where compliance is required – and
development, or commercial information; or                                         also, after a motion is transferred, the issuing court – may hold in contempt a
                                                                                   person who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.

                                      For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)

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                                          SCHEDULE I

                       DEFINITIONS AND GENERAL PROVISIONS

       As used in this request, the following words shall have the following meanings:

        1.      “You,” “Your,” or the “Bank” refers to the recipient of this subpoena, and, where
applicable, its parent companies, affiliates, or subsidiaries acting in any capacity, including as
trustee, administrative agent, or collateral agent for a Loan (as such term is defined below).

        2.      “Entity and/or Individual” and/or “Entities and/or Individuals” refer to each of the
following entities or individuals and extends to any entities or individuals bearing a name of
similar variation, as well as to any instance in which the Entities or Individuals are reflected as
having any relation to the matters set forth in the “Document Requests”:

The Gemesis Diamond Company                       The Gemesis Diamonds
                                                  Gemesis Diamond Company
Formerly known as the Gemesis Corporation         Gemesis Diamonds

IIA Holdings Group Limited                        IIA Holdings Group
                                                  IIA Holdings Group Ltd
Formerly known as Century Springs Overseas        IIA Holdings Ltd
Limited                                           11A Holdings
                                                  Century Springs Overseas Limited
                                                  Century Springs Overseas
                                                  Century Springs Overseas Ltd

IIA Technologies Sdn Bhd                          IIA Technologies
                                                  11A Technologies
Formerly known as Gemesis Malaysia Sdn            11A Technologies Sdn Bhd
Bhd                                               2a Technologies
                                                  Gemesis Malaysia Sdn Bhd
                                                  Gemesis Malaysia

IIA Technologies Pte Ltd                  IIA Technologies Pte
                                          IIA Technologies
Formerly known as The Gemesis Company (S) IIA Technologies Ltd
Pte Ltd and Nozomi Technotron Pte Ltd     11A Technologies
                                          11A Technologies Pte Ltd
                                          2A Technologies
                                          Gemesis Company (S) Pte
                                          Gemesis Company Pte
                                          Gemesis Company Pte Ltd

Pure Grown Diamonds Inc.                          Pure Grown Diamonds
                                                  Pure Grown Diamond
Formerly known as Gemesis Inc and                 Pure Grown

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Gem Company                                       Gemesis Inc
                                                  Gem Company
                                                  Gemesis Company

        3.      “Account” shall be construed in the broadest sense and shall include all bank
and/or depository accounts at the Bank, including but not limited to savings, checking, credit
card, line of credit, investment, brokerage, bond, stock or equity trading, interest bearing, money
market, certificate of deposit, money market, revolving, or loan, mortgage, or any other account,
whether open or closed, that is (a) held in the name of any Entity or Individual, (b) in which any
Entity or Individual is a beneficiary or ultimate beneficial owner, or (c) in which one or more
Entity and/or Individual is an authorized signatory.

        4.     “Communication” means any exchange of words, notes, symbols, ideas, or
thoughts between two or more people by any medium or method, including: hand-written; typed;
e-mail; text message or via other telephone messaging service such as WhatsApp; recorded
audio; voice recording; or any other medium or method capable of recording and electronically
storing a Communication.

        5.      “Document” shall have the same meaning and scope as “documents or
electronically stored information” within the meaning of Federal Rule of Civil Procedure
34(a)(1)(A).

       6.      “Items” means any checks, wire transfers, drafts or any other document
evidencing a debit or credit from or to any of the Accounts, respectively, including any
document memorializing any incoming or outgoing remittances, debit and credit advices, cash
deposit, or withdrawal, documentation such as SWIFT or any similar payment system, internally
prepared slips or similar other paperwork, that is payable to or from any of the following or
references an Entity or Individual.

        7.        “Loan” or “Loans” means any account at Bank for which Bank issued a loan,
letter of credit, line(s) of credit, debenture, mortgage, and/or credit of any kind to the Debtors or
Debtor-Affiliated Individual on behalf of the Debtors, or guaranteed or co-signed by the Debtors
or Debtor-Affiliated Individual on behalf of the Debtors, whether directly or indirectly.

        8.      “Person” means natural person(s), corporation(s), association(s), partnership(s),
sole proprietorship(s) or public entity(ies).

       9.     “Source of Funds” shall mean the exact account that initiates a payment,
including the name of the account holder, account number, bank name and bank address or
routing number.

       10.    The terms “and” and “or” shall be construed conjunctively or disjunctively as is
necessary to make the request for production inclusive rather than exclusive.

       11.     The term “any” means “all” and vice versa.

       12.     The term “including” means including but not limited to.


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      13.     The singular shall be construed to include the plural, and vice versa, to make the
Request inclusive rather than exclusive.

        14.    “Related to” or “relating to” means constitute, regarding, refer to, reflect,
mention, evidence, concern, pertain to, arise out of, summarize, analyze, or be logically or
factually connected in any way with the matter discussed.

       15.     “Relevant Period” refers to the period of time from January 1, 2009 to December
31, 2012. Unless otherwise stated, all Requests refer only to the Relevant Period.

       16.   “CHIPS” shall mean the Clearing House Interbank Payment System, operated by
the New York Clearing House Association.

      17.   “SWIFT” shall mean the Society for Worldwide Interbank Financial
Telecommunications.

       18.     “Fedwire” means the Federal Reserve’s funds transfer system.

        19.     As payment messages may not include the exact name of the Entities or
Individuals, when searching for documents responsive to Document Request Nos. 5 and 6, please
include payment messages or other Documents that include entities with names substantially
similar to the names listed above.

        20.   To the extent applicable to any documents produced in response to this Subpoena,
please provide an affidavit or certification sufficient to identify such documents as records of a
regularly conducted activity of a business, organization, or calling, as described in Federal Rules
of Evidence, Rule 803(6).

         21.     You are requested to produce all documents that are in your possession, custody,
or control, including, but not limited to, documents in the possession, custody or control of your
affiliates, attorneys, consultants, professionals, agents, representatives, employees, subsidiaries,
sister corporations, parent corporations or any other person or entity acting on your behalf. You
have the affirmative duty to contact any third party, including the foregoing, from whom you
have “the legal right to obtain the documents requested upon demand.” Sergeeva v. Tripleton
Int'l Ltd., 834 F.3d 1194, 1201 (11th Cir. 2016) (affirming order that U.S. company produce
documents in the physical possession or custody of a foreign affiliate); SeaRock v. Stripling, 736
F.2d 650, 653–54 (11th Cir. 1984).

        22.    Documents maintained in electronic form must be produced in their native
electronic form with all metadata intact. Data must be produced in the data format in which it is
typically used and maintained. For electronic mail systems using Microsoft Outlook or
LotusNotes, provide all responsive emails and, if applicable, email attachments and any related
documents, in their native file format (i.e., .pst for outlook personal folder, .nsf for LotusNotes).
For all other email systems provide all responsive emails and if applicable, email attachments
and any related documents in TIFF format.

       23.    To the extent any electronically stored information, if produced in its native
format, would be difficult or impossible to review because it would require proprietary or legacy

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software, said electronically stored information should be provided in Image (near-paper) format
(i.e., .TIFF, or .PDF files) with a corresponding load file utilizing valid field delimiters and text
qualifiers containing metadata and optical character recognition (OCR) extracted text for said
electronically stored information named with the document identification (DocID) of its
corresponding file.

         24.   To the extent any electronically stored information is a password protected native
file, the password for the native file should be provided as metadata in a text file named with the
document identification (DocID) of the corresponding password protected native file.

       25.    The documents produced pursuant to this Subpoena for production of documents
are to be segregated and identified by the number of the request to which the documents are
responsive.

       26.     In the event you claim that any document requested is unavailable, lost,
misplaced, or destroyed, state the following:

               a.      the date you believe such document became unavailable, lost, misplaced,
                       or destroyed; and

               b.      the reason why such document became misplaced, lost, or destroyed.

        27.     In the event that you seek to withhold any document on the basis that it is covered
by privilege, please provide the following information:

               a.      The name of each author, writer, sender, or initiator of such document or
                       thing, if any;

               b.      The name of each recipient, addressee or party for whom such document
                       or thing was intended, if any;

               c.      The date of such document, if any, or an estimate thereof so indicated if no
                       date appears on the document;

               d.      The general subject matter as described in such document, or, if no such
                       description appears, then such other description sufficient to identify said
                       document; and

               e.      The claimed grounds for withholding the document, including, but not
                       limited to the nature of any claimed privilege and grounds in support
                       thereof.

        28.     For each request, or part thereof, which is not fully responded to pursuant to a
privilege, the nature of the privilege and grounds in support thereof should be fully stated, and
that portion of the document not claimed to be privileged shall be produced.


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       29.    If production of documents or other items required by this Subpoena would be, in
whole or in part, unduly burdensome, or if the response to an individual request for production
may be aided by clarification of the request, contact the issuer of this Subpoena, to discuss
possible amendments or modifications of the Request within five (5) days of receipt of same.




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                                 DOCUMENTS REQUESTED

       1.     For the Relevant Period, and for each Account, all of the following Documents
regarding such Account:
           a. account statements;
           b. wire transfer, EFT, or ACH payment requests for payments in an amount greater
       than $500.00;
           c. wire transfer, EFT, or ACH payment confirmations, details, or receipts for
       payments in an amount greater than $500.00;
           d. cancelled checks (front and back) in an amount greater than $500.00;
           e. deposit slips or receipts for any amount greater than $500.00;
           f. records reflecting the receipt or delivery of securities;
           g. applications for credit, including documentation attached to or provided in
       connection therewith;
           h. credit reports;
           i. signature cards; and
           j. account opening Documents, including, without limitation, Know Your Customer
              Documents.

       2.      All Documents pertaining to Certificates of Deposit purchased or redeemed by
any Entity and/or Individual.

      3.     All Documents pertaining to all Cashier's, Manager's, or Bank Checks, Traveler's
Checks, and Money Orders purchased or negotiated by any Entity and/or Individual.

        4.      All Currency Transactions Reports (CTR Form 4789) and Reports of International
Transportation of Currency or Monetary Instruments (Form 4790) filed by you with the
Department of Treasury, Internal Revenue Service, or the United States Customs Service,
relating to any currency transactions conducted by or on behalf of any Entity and/or Individual.

        5.     Logs or spreadsheets listing all wire transfers initiated, originated, credited to, or
ultimately received by any Entity and/or Individual, during the Relevant Period, in which
transfers the Bank acted solely as an intermediary bank or correspondent bank to CHIPS,
Fedwire, or otherwise to facilitate an interbank funds transfer.

       6.     To the extent not included in Document Request No. 5, logs or spreadsheets of all
payment messages—whether generated by CHIPS, SWIFT, Fedwire, or any other interbank
payment service—regarding any wire transfer initiated, originated, credited to, or ultimately
received by any Entity and/or Individual, in which transfer the Bank acted solely as an
intermediary bank or correspondent bank to CHIPS, Fedwire, or otherwise to facilitate an
interbank funds transfer.




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